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                                                                                                                                     Allele Biotechnology and Pharmaceuticals, Inc.
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                                                                                                                                13
                                                                                                                                                            UNITED STATES DISTRICT COURT
                                                                                                                                14
                                                                                                                                                          SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                                15
                                                                                                                                16   Allele Biotechnology and                   Case No. '20CV1958 GPC AHG
                                                                                                                                     Pharmaceuticals, Inc., a California
                                                                                                                                17   corporation                                COMPLAINT FOR PATENT
                                                                                                                                                                                INFRINGEMENT
                                                                                                                                18                    Plaintiff,

                                                                                                                                19   v.
                                                                                                                                                                                JURY TRIAL DEMAND
                                                                                                                                20   Pfizer, Inc., a Delaware corporation;
                                                                                                                                     BioNTech SE, a German company;
                                                                                                                                21   BioNTech US, Inc., a Delaware
                                                                                                                                     corporation; and DOES 1-30
                                                                                                                                22                    Defendants.
                                                                                                                                23
                                                                                                                                24           Plaintiff Allele Biotechnology and Pharmaceuticals, Inc. (hereafter “Allele”)
                                                                                                                                25   brings this Complaint for monetary and declaratory relief against Defendants Pfizer,
                                                                                                                                26   Inc., a Delaware corporation (“Pfizer”), BioNTech SE, a German company, and
                                                                                                                                27   BioNTech US, Inc., a Delaware company (collectively “BioNTech”) (and each
                                                                                                                                28

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                                                                                                                                 1   Defendant collectively “Defendants”) to address Defendants’ infringement of
                                                                                                                                 2   Allele’s patent related to Defendants’ COVID-19 vaccine, BNT162.
                                                                                                                                 3           1.   This action arises under the patent laws of the United States, 35 U.S.C.
                                                                                                                                 4   § 1 et seq., based on Defendants’ infringement of United States Patent No.
                                                                                                                                 5   10,221,221 (“the ‘221 Patent”).
                                                                                                                                 6                                     INTRODUCTION
                                                                                                                                 7           2.   Prior to the current COVID-19 crisis, Allele had already developed the
                                                                                                                                 8   revolutionary mNeonGreen. mNeonGreen belongs to Allele, as does the ’221 Patent
                                                                                                                                 9   covering the exclusive right to use mNeonGreen. mNeonGreen is an artificial
                                                                                                                                10   fluorescent that Allele painstakingly developed over many years through the genius
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                                                                                                                                11   of its inventors. It is the world’s brightest monomeric fluorescent protein, dubbed by
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                                                                                                                                12   third party industry veterans as the “King of fluorescent proteins.” A prominent
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                                                                                                                                13   university used mNeonGreen to make the “gold standard” COVID-19 assay for
                                                                                                                                14   effectively testing against vaccine candidates, which Pfizer and BioNTech readily
                                                                                                                                15   took for their own unauthorized commercial testing and development.
                                                                                                                                16           3.   The results included selection of their BNT162 MRNA-based COVID-
                                                                                                                                17   19 vaccine candidate currently in a Phase 3 trial. What’s more, mNeonGreen has
                                                                                                                                18   been used throughout Defendants’ COVID-19 vaccine trials, right up to the present.
                                                                                                                                19   Only through use of mNeonGreen were Defendants able to develop and test the
                                                                                                                                20   BNT162 vaccine candidate at lightspeed making them first to market, earning them
                                                                                                                                21   an immediate $445 million in grants and over $4 billion in sales of the vaccine to-
                                                                                                                                22   date. All of this was simply the downstream benefit that Defendants enjoyed (and
                                                                                                                                23   presumably the world will enjoy from the vaccine) from their choice to use Allele’s
                                                                                                                                24   mNeonGreen.
                                                                                                                                25           4.   Allele’s   breakthrough    in     fluorescent   protein   technology   is
                                                                                                                                26   mNeonGreen, the latest in its history of innovation. Since 1999, Allele has been a
                                                                                                                                27   leader in developing technology and research tools for clinical and therapeutic uses.
                                                                                                                                28   Among other achievements, Allele’s advancements have been directed to RNA

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                                                                                                                                 1   interference, Fluorescent Proteins, Induced Pluripotent Stem Cells (iPSCs), Genome
                                                                                                                                 2   Editing, and camelid derived Single Domain Antibodies. More recently since
                                                                                                                                 3   January of 2020, Allele has been actively engaged in combating COVID-19,
                                                                                                                                 4   initiating impactful diagnostic and therapeutic platforms premised on speed,
                                                                                                                                 5   accuracy, and sensitivity.
                                                                                                                                 6           5.    This lawsuit follows because Defendants made the deliberate and
                                                                                                                                 7   calculated decision to infringe, rather than even so much as pick up the phone and
                                                                                                                                 8   seek to obtain the rights to use Allele’s valuable intellectual property.
                                                                                                                                 9                             JURISDICTION AND VENUE
                                                                                                                                10           6.    This is an action for patent infringement arising under the patent laws
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                                                                                                                                11   of the United States, 35 U.S.C. § 271.
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                                                                                                                                12           7.    This Court has subject matter jurisdiction over this action under 28
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                                                                                                                                13   U.S.C. §§ 1331, 1332 and 1338(a).
                                                                                                                                14           8.    This Court has personal jurisdiction over Defendants because
                                                                                                                                15   Defendants regularly conduct business within, and specifically direct their business
                                                                                                                                16   activities to, the State of California and the Southern District of California (“this
                                                                                                                                17   District”). Defendants have purposefully availed themselves of the opportunity to
                                                                                                                                18   conduct business in this state through systematic and continuous dealings in this state.
                                                                                                                                19   Defendants’ actions that give rise to personal jurisdiction include, but are not limited
                                                                                                                                20   to the following: making and using infringing products in this State and in this
                                                                                                                                21   District, knowing and intending that the infringing products would be used in this
                                                                                                                                22   District, deriving substantial revenue from the use of infringing products within this
                                                                                                                                23   District, and expecting their infringing actions to have consequences in this District.
                                                                                                                                24           9.    Venue is proper as to BioNTech SE in this judicial district pursuant to,
                                                                                                                                25   inter alia, 28 U.S.C. § 1391(c)(3).
                                                                                                                                26           10.   Venue also is proper as to Defendants under 28 U.S.C. § 1400(b). Each
                                                                                                                                27   Defendant has committed, induced others to commit, or contributed to others
                                                                                                                                28   committing, acts of infringement in this District, including by conducting an

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                                                                                                                                 1   international trial of the vaccine utilizing mNeonGreen with over 30,000 participants
                                                                                                                                 2   and study sites including in San Diego County, Clinical Study Identifier
                                                                                                                                 3   NCT04368728. Pfizer has a regular and established place of business in La Jolla,
                                                                                                                                 4   California which on information and belief is a 25-acre campus with over half a
                                                                                                                                 5   million square feet of buildings and “one of the largest concentrations of academic
                                                                                                                                 6   and biotechnology institutions in the world.” BioNTech has a regular and established
                                                                                                                                 7   place of business at 11535 Sorrento Valley Rd #400, San Diego CA, namely its
                                                                                                                                 8   15,000 square foot US laboratory, research and development facility, which it
                                                                                                                                 9   identified as of January 2020 as its U.S. research and development hub.
                                                                                                                                10                                      THE PARTIES
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                                                                                                                                11           11.   Allele is a California corporation with its principal place of business
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                                                                                                                                12   being, 6404 Nancy Ridge Drive, San Diego, California 92121.
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                                                                                                                                13           12.   Allele was founded in 1999 and is recognized as a leading developer of
                                                                                                                                14   technology for clinical and therapeutic use, such as research tools for drug candidates
                                                                                                                                15   in vaccine trials as in the current race for the cure to COVID-19.
                                                                                                                                16           13.   Defendant Pfizer is a company organized and existing under the laws of
                                                                                                                                17   the State of Delaware with its principal place of business at 235 East 42nd Street,
                                                                                                                                18   New York, NY 10017.
                                                                                                                                19           14.   Defendant BioNTech SE, is a company organized and existing under
                                                                                                                                20   the laws of Germany, traded in the United States on NASDAQ, with its principal
                                                                                                                                21   place of business located in An der Goldgrube 12 Mainz, 55131 Germany. Defendant
                                                                                                                                22   BioNTech US, Inc. is a company organized and existing under the laws of the State
                                                                                                                                23   of Delaware with on information and belief its principal place of business located in
                                                                                                                                24   Cambridge, Massachusetts.
                                                                                                                                25           15.   The true names and capacities, whether individual, corporate, associate,
                                                                                                                                26   or otherwise, of defendants DOES 1 through 30, inclusive, are unknown to Allele,
                                                                                                                                27   who therefore sues said defendants by such fictitious names. Allele will amend this
                                                                                                                                28   Complaint to state their true names and capacities when the same is ascertained.

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                                                                                                                                 1   Allele is informed and believes that at all times herein mentioned, each defendant
                                                                                                                                 2   named herein was the agent of each of the remaining defendants and, in doing the
                                                                                                                                 3   things herein alleged, was acting within the course and scope of said agency. Any
                                                                                                                                 4   reference in this Complaint to the actions or inactions of any defendant, whether such
                                                                                                                                 5   reference is made to such defendant by specific name or otherwise, is also a reference
                                                                                                                                 6   to the actions or inactions of DOES 1 through 30, inclusive.
                                                                                                                                 7           16.   Defendant Pfizer is, among other things, engaged with BioNTech in the
                                                                                                                                 8   development of their BNT162 MRNA-based vaccine candidate, which was
                                                                                                                                 9   developed using Allele’s mNeonGreen. The vaccine candidate is currently part of
                                                                                                                                10   an ongoing Phase 3 trial that, on information and belief, has already surpassed
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                                                                                                                                11   enrollment of 30,000 participants as of September 2020. Based on promising results
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                                                                                                                                12   (premised on Defendants’ use of mNeonGreen, which itself does not require
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                                                                                                                                13   government approval for clinical use), the U.S. government and U.S. Department of
                                                                                                                                14   Health and Human Services have ordered up to 600,000,000 doses of their vaccine
                                                                                                                                15   candidate.
                                                                                                                                16           17.   At all times mentioned herein, defendants, and each of them, were the
                                                                                                                                17   agents, servants, co-conspirators, or employees of one another, and the acts and
                                                                                                                                18   omissions herein alleged were done or suffered by them, acting individually and
                                                                                                                                19   through or by their alleged capacity, within the scope of their authority. Each of the
                                                                                                                                20   defendants aided and abetted and rendered substantial assistance in the
                                                                                                                                21   accomplishment of the acts complained of herein.           In taking the actions, as
                                                                                                                                22   particularized herein, to aid and abet and substantially assist in the commission of the
                                                                                                                                23   misconduct complained of, each defendant acted with an awareness of his, her or its
                                                                                                                                24   primary wrongdoing and realized that his, her or its conduct would substantially
                                                                                                                                25   assist in the accomplishment of that misconduct and was aware of his, her or its
                                                                                                                                26   overall contribution to, and furtherance of the conspiracy, common enterprise, and
                                                                                                                                27   common course of conduct. Defendants’ acts of aiding and abetting included, inter
                                                                                                                                28   alia, all of the acts each defendant is alleged to have committed in furtherance of the

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                                                                                                                                 1   conspiracy, common enterprise, and common course of conduct complained of
                                                                                                                                 2   herein.
                                                                                                                                 3                                          FACTS
                                                                                                                                 4                                        Background
                                                                                                                                 5           18.   Messrs. Nathan C. Shaner, Gerard G. Lambert, Yuhui Ni, and Jiwu
                                                                                                                                 6   Wang are joint inventors (collectively “Inventors”) of the ’221 Patent, entitled
                                                                                                                                 7   “Monomeric yellow-green fluorescent protein from cephalochordate” and which
                                                                                                                                 8   issued on March 5, 2019. A true and correct copy of the ’221 Patent is attached
                                                                                                                                 9   hereto as Exhibit 1.
                                                                                                                                10           19.   Although the invention(s) set forth in the ’221 Patent are best described
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                                                                                                                                11   by its claims, the ’221 Patent is generally directed to isolated nucleic acid sequences
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                                                                                                                                12   encoding a monomeric green/yellow fluorescent proteins, and fragments and
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                                                                                                                                13   derivatives thereof.
                                                                                                                                14           20.   On April 28, 2014, the Inventors assigned the yet-to-be-issued ’221
                                                                                                                                15   Patent to Allele. A true and correct copy of the assignment is attached hereto as
                                                                                                                                16   Exhibit 2.
                                                                                                                                17           21.   The claims of the ‘221 Patent encompass Allele’s mNeonGreen product,
                                                                                                                                18   which is a fluorescent protein used as a biological tag in genetic engineering work.
                                                                                                                                19   mNeonGreen is a monomeric protein that was derived from a tetrameric wild-type
                                                                                                                                20   yellow-green fluorescent protein isolated from the cephalochordate Branchiostoma
                                                                                                                                21   lanceolatum (a “lanYFP”). In nature, two lanYFP monomers form a dimer and two
                                                                                                                                22   dimers form an “obligate” (mandatory) tetramer. When exposed to certain
                                                                                                                                23   wavelengths of light, the lanYFP tetramer will brightly fluoresce. However, the
                                                                                                                                24   tetramer is large and often unsuitable as a fluorescent tag.          The engineered
                                                                                                                                25   mNeonGreen monomer is among the brightest and most stable monomeric
                                                                                                                                26   fluorescent reporter proteins currently known.
                                                                                                                                27           22.   The resulting mNeonGreen, synthetic lanYFP fluorescent protein
                                                                                                                                28   described and claimed in the ‘221 Patent is widely recognized as a breakthrough, is

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                                                                                                                                 1   used throughout the industry, and has been called the “King of fluorescent proteins”
                                                                                                                                 2   by Professor Amy Palmer, at the University of Colorado Boulder. Applications
                                                                                                                                 3   involving infectious viruses, such as COVID-19 vaccine work, are high
                                                                                                                                 4   concentration environments perfectly suited for mNeonGreen, as broadly recognized.
                                                                                                                                 5   See, Xie, et al, Cell Host & Microbe 27, 841-848 (May 13, 2020) and Muruato, et al.,
                                                                                                                                 6   bioRxiv preprint: https://doi.org/10.1101/2020.05.21.109546 (May 22, 2020), true
                                                                                                                                 7   and correct copies of each attached hereto as Exhibit 3 (hereafter “Cell Host Article”)
                                                                                                                                 8   and Exhibit 4, respectively.
                                                                                                                                 9           23.   The commercial protein of mNeonGreen corresponds to SEQ ID NO:1
                                                                                                                                10   of the patent (claims 1, 3, 4 and 5). Allele used the nucleic acid of SEQ ID NO:2
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                                                                                                                                11   (claim 3) to express this protein.
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                                                                                                                                12           24.   In practice, mNeonGreen facilitates quick, targeted, and precise receptor
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                                                                                                                                13   research, including for potential therapeutics to treat COVID-19. The fluorescent-
                                                                                                                                14   tagged therapeutic proteins associated with mNeonGreen are constructed to
                                                                                                                                15   determine receptor expression and dynamics with therapeutic outcome for high-
                                                                                                                                16   throughput systems, as in the present global race for a vaccine to COVID-19. A key
                                                                                                                                17   hurdle in developing a vaccine for infectious diseases, such as the novel coronavirus
                                                                                                                                18   of COVID-19, is determining therapeutic outcome of potential drug candidates,
                                                                                                                                19   something which mNeonGreen readily solves.
                                                                                                                                20           25.   Where there is a race against time, weaker fluorescent alternatives are
                                                                                                                                21   simply no option. mNeonGreen was the critical link in Defendants’ COVID-19
                                                                                                                                22   vaccine development and its continued trial success. This research tool is even more
                                                                                                                                23   critical in a global pandemic where the need for a vaccine to save lives has never
                                                                                                                                24   been more crucial. While Defendants were required to obtain a commercial license
                                                                                                                                25   from Allele, Defendants never sought a license with Allele or even contacted them.
                                                                                                                                26
                                                                                                                                27
                                                                                                                                28

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                                                                                                                                 1                                      Accused Products
                                                                                                                                 2            26.    BioNTech adopted the technology protected by the ‘221 Patent in its
                                                                                                                                 3   COVID-19 vaccine trial. See, SEC Form 6K, a true and correct copy attached hereto
                                                                                                                                 4   as Exhibit 5.
                                                                                                                                 5            27.    At page 21 of Form 6K shown in Exhibit 5 Page 73, BioNTech states,
                                                                                                                                 6   “[t]he SARS-CoV-2 neutralization assay used a previously described strain of SARS-
                                                                                                                                 7   CoV-2 (USA_WA1/2020) that had been rescued by reverse genetics and engineered
                                                                                                                                 8   by the insertion of an mNeonGreen (mNG) gene into open reading frame 7 of the
                                                                                                                                 9   viral genome.” Stated differently, the COVID-19 vaccine of Defendants’ COVID-19
                                                                                                                                10   vaccine trial was developed by Defendants using a DNA construct with a monomeric
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                                                                                                                                11   mNeonGreen protein inserted into the recombinant and infectious SARS-COV2-19
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                                                                                                                                12   virus.
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                                                                                                                                13            28.    Form 6K includes a copy of Mulligan et al., Phase 1/2 Study to
                                                                                                                                14   Describe the Safety and Immunogenicity of a COVID-19 RNA Vaccine Candidate
                                                                                                                                15   (BNT162b1) in Adults 18 to 55 Years of Age: Interim Report (“Mulligan”), a
                                                                                                                                16   medRxiv preprint made available on July 1, 2020 at
                                                                                                                                17   https://doi.org/10.1101/2020.06.30.20142570.
                                                                                                                                18            29.    Mulligan contains additional information about BioNTech’s work. See
                                                                                                                                19   Exhibit 5 Page 62 (Exhibit 99.2, Mulligan p.1). For example, Mulligan reported
                                                                                                                                20   dose-dependent titers of neutralizing antibodies in human subjects with safe (mild to
                                                                                                                                21   moderate) adverse reactions:
                                                                                                                                22                   The SARS-CoV-2 neutralization assay used a previously
                                                                                                                                                     described strain of SARS-CoV-2 (USA_WA1/2020) that
                                                                                                                                23                   had been rescued by reverse genetics and engineered by
                                                                                                                                                     the insertion of an mNeonGreen (mNG) gene into open
                                                                                                                                24                   reading frame 7 of the viral genome.[20] This reporter
                                                                                                                                                     virus generates similar plaque morphologies and
                                                                                                                                25                   indistinguishable growth curves from wild-type virus.
                                                                                                                                                     Viral master stocks used for the neutralization assay were
                                                                                                                                26                   grown in Vero E6 cells as previously described.[20]
                                                                                                                                27   Exhibit 5 Page 73 (at Exhibit 99.2, page 12).
                                                                                                                                28

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                                                                                                                                 1           30.   In other words, BioNTech admits in Exhibit 5 that it used (and continues
                                                                                                                                 2   using in its trials) the DNA construct described in the Cell Host Article to develop
                                                                                                                                 3   and test its SARS-CoV2 vaccine.
                                                                                                                                 4           31.   Defendants have used and continue using the infringing DNA construct
                                                                                                                                 5   described in the Cell Host Article.
                                                                                                                                 6           32.   In addition, scientists from the University of Texas Medical Branch
                                                                                                                                 7   (UTMB), who provides the DNA construct to Defendants, reported an “urgently
                                                                                                                                 8   needed ... fluorescent-based SARS-CoV-2 neutralization assay” with “gold standard”
                                                                                                                                 9   results. See Exhibit 4 Page 40). The assay of Exhibit 4 “was built on a stable
                                                                                                                                10   mNeonGreen SARS-CoV-2” reporter virus (Id., at 41) (citing the Cell Host Article)
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                                                                                                                                11   and is “superior ... because it measures functional SARSCoV-2 neutralizing activity.
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                                                                                                                                12   Notably, the mNeonGreen reporter assay offers a rapid, high throughput platform to
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                                                                                                                                13   test COVID-19 patient sera not previously available.” Id., at 43-44.
                                                                                                                                14           33.   Defendants have used and continue using this infringing assay.
                                                                                                                                15           34.   The Cell Host Article also evidences that UTMB made a “reverse
                                                                                                                                16   genetics system” for SARS-CoV2 by assembling seven cDNA fragments into a full-
                                                                                                                                17   genome cDNA of the virus. Three silent mutations were made to the genome as
                                                                                                                                18   biological markers (A7486T, T7489A, and T18060C), to distinguish the recombinant
                                                                                                                                19   virus from wild-type SARS-CoV2. See Cell Host Article at Exhibit 3 at 29, 31 (842,
                                                                                                                                20   Fig. 2E). RNA transcribed from this cDNA produced a highly infectious virus that,
                                                                                                                                21   according to UTMB, “recapitulates the replication kinetics of the original clinical
                                                                                                                                22   isolate.” Id., at 29.
                                                                                                                                23           35.   mNeonGreen was incorporated into this cDNA to make a reporter virus:
                                                                                                                                24                 We generated a stable mNeonGreen SARS-CoV-2
                                                                                                                                                   (icSARS-CoV-2-mNG) by introducing this reporter gene
                                                                                                                                25                 into ORF7 of the viral genome. icSARS-CoV-2-mNG
                                                                                                                                                   was successfully used to evaluate the antiviral activities of
                                                                                                                                26                 interferon (IFN). Collectively, the reverse genetic system
                                                                                                                                                   and reporter virus provide key reagents to study SARS-
                                                                                                                                27                 CoV-2 and develop countermeasures.
                                                                                                                                28

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                                                                                                                                 1   Cell Host Article at Exhibit 3 at 28 (841 (Summary)), Exhibit 3 at 30, 32 (843, Fig.
                                                                                                                                 2   3A).
                                                                                                                                 3           36.      The “countermeasures” referenced in the Cell Host Article by UTMB
                                                                                                                                 4   include “generation of live-attenuated vaccine candidates to respond to emerging
                                                                                                                                 5   virus outbreaks”, including “mNeonGreen virus [] be[ing] reliably used to study
                                                                                                                                 6   viral replication and pathogenesis as well as to develop vaccines and antiviral drugs.”
                                                                                                                                 7   Id. at 29, 30.
                                                                                                                                 8           37.      The Key Resources Table of the Cell Host Article lists “synthesized
                                                                                                                                 9   mNeonGreen gene (sequence optimized)” and refers to a publication from 2013 by
                                                                                                                                10   the Inventors which corresponds to the ’221 Patent. See, Cell Host Article at e1, e2.
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                                                                                                                                11           38.      mNeonGreen in UTMB’s construct is identical to SEQ ID NO:1 of the
                                                                                             S A N D I E G O , C A 92130-2092




                                                                                                                                12   ‘221 patent.
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                                                                                                                                13           39.      Mulligan of Exhibit 5 also states, “BioNTech is the Sponsor of the
                                                                                                                                14   study” and that “Pfizer was responsible for the design, data collection, data analysis,
                                                                                                                                15   data interpretation, and writing of the report,” confirming Defendants’ intimate
                                                                                                                                16   involvement in every aspect of the study. See Exhibits 6, 7, and 8 with true and
                                                                                                                                17   correct copies of each attached hereto which confirm mNeonGreen’s continued use
                                                                                                                                18   by Defendants in their development of a COVID-19 vaccine. Defendants directly
                                                                                                                                19   used the invention patented in the ’221 Patent, and for which Defendants have since
                                                                                                                                20   obtained hefty government grants and sales. Exhibit 5 Page 66 (at Exhibit 99.2 p. 5).
                                                                                                                                21           40.      A protein made using the DNA construct used by Defendants has “at
                                                                                                                                22   least one” of the mutations in claim 1, at least three of the mutations in claim 4, at
                                                                                                                                23   least 95% sequence identity according to claims 1, 2, and 4; has at least 97% sequence
                                                                                                                                24   identity according to claim 5, and has a monomer according to claim 2.
                                                                                                                                25           41.      Therefore, the mNeonGreen protein used by Defendants throughout
                                                                                                                                26   their COVID-19 vaccine trial literally infringes at least claims 1, 2, 4 and 5 of the
                                                                                                                                27   ‘221 Patent.
                                                                                                                                28

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                                                                                                                                 1           42.   At no time has Allele granted Defendants authorization, license, or
                                                                                                                                 2   permission to practice the inventions claimed in the ‘221 Patent.
                                                                                                                                 3           43.   Because of this continued infringement, Defendants were able to
                                                                                                                                 4   identify their COVID-19 vaccine candidate, BNT162, as the most promising
                                                                                                                                 5   candidate to commercialize.
                                                                                                                                 6                            Defendants’ Willful Infringement
                                                                                                                                 7           44.   The ’221 Patent was issued by the United States Patent and Trademark
                                                                                                                                 8   Office. As an issued patent, the ’221 Patent has a presumption of validity per 35
                                                                                                                                 9   U.S.C. § 282.
                                                                                                                                10           45.   At least claims 1, 2, 4 and 5 of the ’221 Patent have all of their
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                                                                                                                                11   limitations met by the Accused Product, which thus infringes the ’221 Patent.
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                                                                                                                                12           46.   Since at least as early as May 2020, Defendants have been aware of the
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                                                                                                                                13   ’221 Patent, and have had actual knowledge of the ’221 Patent and the obvious risk
                                                                                                                                14   of infringement by continued use of mNeonGreen throughout their development of
                                                                                                                                15   their COVID-19 vaccine candidate in the United States.
                                                                                                                                16           47.   Despite their knowledge of the obvious risk of infringement of the ‘221
                                                                                                                                17   Patent, Defendants since at least as early as May of 2020 continued using Allele’s
                                                                                                                                18   mNeonGreen throughout their ongoing COVID-19 trial.
                                                                                                                                19           48.   Defendants’ continued infringement was and is subjectively reckless
                                                                                                                                20   and intentional. Defendants have infringed the ’221 Patent in a willful and egregious
                                                                                                                                21   manner, in wanton disregard of the ’221 Patent.
                                                                                                                                22                              FIRST CLAIM FOR RELIEF
                                                                                                                                23                 (Infringement of the ’221 Patent Against All Defendants)
                                                                                                                                24           49.   Allele realleges and incorporates by reference all paragraphs in this
                                                                                                                                25   Complaint above as if fully set forth herein.
                                                                                                                                26           50.   This is a claim for patent infringement and arises under the Patent Laws
                                                                                                                                27   of the United States and, in particular, under 35 U.S.C. §§ 271, et seq.
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                                                                                                                                 1            51.   Defendants have in the past infringed and continue to infringe the ’221
                                                                                                                                 2   Patent in violation of 35 U.S.C. § 271(a) by making, using, offering to sell, and/or
                                                                                                                                 3   selling, in the United States, or importing into the United States, mNeonGreen with
                                                                                                                                 4   its SARS-CoV-2 neutralization assay and DNA construct that infringes at least
                                                                                                                                 5   claims 1, 2, 4, and 5, of the ’221 Patent.
                                                                                                                                 6            52.   Allele is informed and believes that Defendants have infringed, and
                                                                                                                                 7   continue to infringe, the ‘221 patent by making, using, selling, offering for sale and/or
                                                                                                                                 8   licensing products covered by at least claims 1, 2, 4, and 5 of the ‘221 Patent without
                                                                                                                                 9   Allele’s authorization or consent.
                                                                                                                                10            53.   Defendants have in the past infringed and continue to infringe the ’221
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                                                                                                                                11   Patent in violation of 35 U.S.C. § 271(f) because Defendants supply or cause to be
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                                                                                                                                12   supplied from the United States all or a substantial portion of the patented invention
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                                                                                                                                13   for combination outside the United States, including use of mNeonGreen with its
                                                                                                                                14   SARS-CoV-2 neutralization assay and DNA construct throughout their COVID-19
                                                                                                                                15   vaccine trial in the United States and Europe, in a manner that would infringe at least
                                                                                                                                16   claims 1, 2, 4, and 5 of the ’221 Patent, if such combination occurred within the
                                                                                                                                17   United States.
                                                                                                                                18            54.   Section 287 of Chapter 35 of the U.S.C. has been satisfied.
                                                                                                                                19            55.   Defendants’ infringing conduct will continue unless enjoined by this
                                                                                                                                20   Court.
                                                                                                                                21            56.   Defendants’ acts of direct infringement have been, and continue to be,
                                                                                                                                22   willful and deliberate and Defendants’ acts of indirect infringement were, and
                                                                                                                                23   continue to be, knowing and intentional.
                                                                                                                                24            57.   Allele is entitled to an award of damages adequate to compensate Allele
                                                                                                                                25   for patent infringement, as well as prejudgment interest from the date the
                                                                                                                                26   infringement began, but in no event less than a reasonable royalty as permitted by 35
                                                                                                                                27   U.S.C. § 284.
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                                                                                                                                 1           58.   Allele is entitled to an award of treble damages for the period of any
                                                                                                                                 2   willful infringement pursuant to 35 U.S.C. § 284.
                                                                                                                                 3           59.   Allele is entitled to a finding that this case is exceptional and an award
                                                                                                                                 4   of interest, costs and attorneys’ fees incurred by Allele in prosecuting this action as
                                                                                                                                 5   provided by 35 U.S.C. § 285.
                                                                                                                                 6           60.   Allele is entitled to an award of pre-judgment and post-judgment interest
                                                                                                                                 7   as provided by law.
                                                                                                                                 8           61.   Allele is entitled to such other and further relief as this Court or a jury
                                                                                                                                 9   may deem just and proper.
                                                                                                                                10                                  PRAYER FOR RELIEF
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                                                                                                                                11           WHEREFORE, in consideration of the foregoing, Allele respectfully prays
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                                                                                                                                12   for a judgment against Defendants:
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                                                                                                                                13           A.    Finding that the ‘221 Patent has been infringed by Defendants in
                                                                                                                                14   violation of 35 U.S.C. §271;
                                                                                                                                15           B.    Finding that Defendants’ infringement of the ‘221 Patent is willful;
                                                                                                                                16           C.    An award of damages adequate to compensate Allele for patent
                                                                                                                                17   infringement, as well as prejudgment interest from the date the infringement began,
                                                                                                                                18   but in no event less than a reasonable royalty as permitted by 35 U.S.C. § 284;
                                                                                                                                19           D.    An award of treble damages for the period of any willful infringement
                                                                                                                                20   pursuant to 35 U.S.C. § 284;
                                                                                                                                21           E.    A finding that this case is exceptional and an award of interest, costs
                                                                                                                                22   and attorneys’ fees incurred by Allele in prosecuting this action as provided by 35
                                                                                                                                23   U.S.C. § 285;
                                                                                                                                24           F.    For an award of pre-judgment and post-judgment interest as provided
                                                                                                                                25   by law; and
                                                                                                                                26           G.    For such other and further relief as this Court or a jury may deem just
                                                                                                                                27   and proper.
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                                                                                                                                       Dated:    October 5, 2020          Respectfully Submitted,
                                                                                                                                 2
                                                                                                                                                                          TROUTMAN PEPPER HAMILTON
                                                                                                                                 3                                        SANDERS LLP
                                                                                                                                 4
                                                                                                                                                                            /s/ Ben Lewis Wagner
                                                                                                                                 5                                        Ben Lewis Wagner
                                                                                                                                 6                                        Attorneys for Plaintiff
                                                                                                                                                                          Allele Biotechnology and
                                                                                                                                 7                                        Pharmaceuticals, Inc.
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T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




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                                                                                                                                 1                              DEMAND FOR JURY TRIAL
                                                                                                                                 2           Plaintiff Allele Biotechnology and Pharmaceuticals, Inc. hereby demands a
                                                                                                                                 3   trial by the jury on its claims herein and all issues and claims so triable in this
                                                                                                                                 4   action.

                                                                                                                                 5
                                                                                                                                     Dated:       October 5, 2020                 Respectfully Submitted,
                                                                                                                                 6
                                                                                                                                                                                  TROUTMAN PEPPER HAMILTON
                                                                                                                                 7                                                SANDERS LLP
                                                                                                                                 8
                                                                                                                                                                                    /s/ Ben Lewis Wagner
                                                                                                                                 9                                                Ben Lewis Wagner
                                                                                                                                10                                                Attorneys for Plaintiff
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                                                                                  Allele Biotechnology and
                                                                                                                                11                                                Pharmaceuticals, Inc.
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                                                                                                                                 2    Exhibit                                                                   Page
                                                                                                                                                                        Description
                                                                                                                                 3     No.                                                                      No.
                                                                                                                                 4         1                             ’221 Patent                              1
                                                                                                                                 5         2                            Assignment                                23
                                                                                                                                 6         3                          Cell Host Article                           27
                                                                                                                                 7         4     “A high-throughput neutralizing antibody assay for COVID-        39
                                                                                                                                 8                  19 diagnosis and vaccine evaluation,” Muruato, et al.,
                                                                                                                                 9                                    bioRxiv preprint
                                                                                                                                10         5                           SEC Form 6K                                53
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                                                                                                                                11         6     https://www.genengnews.com/news/pﬁzer-biontech-publish-          82
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                                                                                                                                13                                        construct/
                                                                                                                                14         7      Press Release: “Pfizer and BioNTech Granted FDA Fast            85
                                                                                                                                15                Track Designation for Two Investigational mRNA-based
                                                                                                                                16                       Vaccine Candidates Against SARS-CoV2”
                                                                                                                                17         8     “RNA-Based COVID-19 Vaccine BNT162b2 Selected for a              90
                                                                                                                                18                 Pivotal Efficacy Study,” Walsh, et al. medRxiv preprint
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